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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS

                                         )
JULIA PREDMORE,                          )
                                         )
             Petitioner                  )
                                         )
       v.                                )                    C.A. No. 3:23-cv-00253
                                         )
NICK’S CLUBS, INC.,                      )
f/k/a ADVENTURE PLUS ENTERPRISES, INC., )
d/b/a PT’S MEN’S CLUB, and NICK MEHMETI, )
                                         )
             Respondents.                )
                                         )


                       NOTICE OF SUPPLEMENTAL AUTHORITY

       This is a summary proceeding to confirm an Arbitration Award in an FLSA case. The

Defendants have opposed confirmation. See Dkt. 34. Plaintiff hereby provides notice of two

decisions that were issued after Plaintiff filed her Reply Brief on March 23, 2023.

       In Layton v. Mainstage Management, Inc., 2023 WL 4240151 (N.D. Tex. June 28, 2023),

Judge Godbey ruled in the plaintiff-dancer’s favor on the identical counterclaims and affirmative

defenses that Defendants asserted against Ms. Predmore in her arbitration proceeding.1 See

id. at *4 (holding that Defendants’ “Counterclaims Are Precluded by the FLSA” and their

“Affirmative Defenses Fail”). Thus, the Arbitrator’s Award is consistent with Judge Godbey’s

ruling that rejected the Defendants’ counterclaims and defenses.

       Plaintiff also submits the Fifth Circuit’s decision in Affordable Care, L.L.C. v. McIntyre,

2023 WL 3620755 (5th Cir. May 24, 2023) (unreported), which reiterates the “stern” burden for

establishing “evident partiality” of an arbitrator, which is the central focus of Defendants’



1
       That case involved these same Defendants in this case, represented by the same counsel.
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opposition in this case. Id. at *2. In order to obtain vacatur on these grounds, there must be

evidence of a “compromising connection” between the arbitrator and the prevailing side. Id. No

such evidence exists in this case.

       Both decisions are submitted herewith.



Dated: September 11, 2023                    Respectfully submitted,


                                             _/s/ Drew Herrmann____________
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